                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF KENTUCKY
                   CENTRAL DIVISION AT FRANKFORT

MID-AMERICA MILLING COMPANY,
LLC, et al.,

              Plaintiffs,                          Case No. 3:23-cv-00072-GFVT




     v.

U.S. DEPARTMENT OF
TRANSPORTATION, PETER P.
BUTTIGIEG, SHAILEN BHATT, &
TODD JETER,

              Defendants.


 CENTRAL SEAL AND CHARBON’S RESPONSE TO JOINT MOTION FOR
                 ENTRY OF CONSENT ORDER

      Proposed Intervenor Plaintiffs Central Seal Company (“Central Seal”) and

Charbon Contracting, LLC (“Charbon”) submit this response to the Joint Motion for

Entry of Consent Order filed by Plaintiffs and Defendants (DN 82).

      Central Seal and Charbon do not oppose entry of the proposed Consent Order

so long as their pending motion to intervene as a matter by right pursuant to Fed.

R. Civ. P. 24(a) or, alternatively, by permission pursuant to Rule 24(b), is granted

and the terms of the Consent Order apply equally to Central Seal and Charbon.

      Central Seal and Charbon are employee-owned companies (ESOPs) based in

Kentucky who frequently bid on road construction projects. While a significant

percentage of Central Seal and Charbon’s employee-owners are women or other
individuals deemed “socially and economically disadvantaged” pursuant to 15

U.S.C. 637 (10% and 39% respectively), Central Seal and Charbon do not qualify as

Disadvantaged Business Enterprises (or “DBE’s”) under that section.

      As set for the in their moving papers (see DN 53, 66), over a period of years

Central Seal and Charbon have systematically and consistently not been awarded

contracts despite being the lowest bidder due to the implementation of the DBE

program goals. In repeated instances, Central Seal and Charbon have lost

contracts to higher DBE bidders. This loss has continued and increased since the

Court’s entry of the preliminary injunction in September 2024 because the

Kentucky Transportation Cabinet (“KYTC”) has attempted to meet DBE goals on

the remaining contracts where Plaintiffs MAMCO and Bagshaw are not

participating bidders. (See DN 53 at 2–3). And despite Executive Order No. 14173

signed on January 21, 2025, DBE goals have still been implemented on Kentucky

bids set out for letting in February, March, April, May, and June 2025. (See

https://transportation.ky.gov/Construction-Procurement/Pages/default.aspx at

“Lettings.”)

      Accordingly, Central Seal and Charbon respectfully request that their motion

to intervene be granted and that the scope of the proposed Consent Order and

permanent injunction apply equally to Central Seal and Charbon.




                                          2
                                        Respectfully submitted,

                                        /s/ Frederick R. Bentley III
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                                        Counsel for Central Seal and Charbon



                           CERTIFICATE OF SERVICE

      This is to certify that the foregoing was served on all following counsel of
record via the Court’s electronic filing system on this 13th day of June, 2025.


                                        /s/ Frederick R. Bentley III
                                        Frederick R. Bentley III




                                           3
